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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

                        NOTICE OF ENTRY OF EXHIBIT A:
                        Railroad Facilities in Jefferson Parish

NOW INTO COURT, through undersigned, comes Plaintiff, HIRAN RODRIGUEZ, SUI

JURIS, who respectfully gives notice of the formal entry and incorporation of Exhibit A into

the record of this matter, entitled: “Railroad Facilities in Jefferson Parish, Louisiana” Said

Exhibit A is submitted pursuant to Federal Rule of Evidence 1006 as a forensic summary of

voluminous data, and further qualifies as a self-authenticating document under Federal Rule

of Evidence 902(14), derived from electronically processed records prepared in accordance

with Plaintiff’s forensic and procedural protocols. Plaintiff hereby demands that this Court take

Judicial Notice of the constitutional, jurisdictional, and operational facts documented in

Exhibit A, as such facts are capable of accurate and ready determination from publicly

available sources and government-chartered operational records pursuant to FRE 201(b) and

FRE 201(d). This Exhibit shall serve as prima facie evidence of corporate operations on public

land within Jefferson Parish lacking verified statutory franchise, constitutional delegation, or

demonstrable federal charter. This record is incorporated without prejudice to any right to

seek default, injunctive relief, declaratory judgment, or referral for criminal investigation

pursuant to 18 U.S.C. §§ 241, 242, and 1001. Respectfully submitted and entered into the

record on this 17th day of April, 2025.




HIRAN RODRIGUEZ, SUI JURIS

820 Grove Ave

Metairie, LA 70003-7024

(504) 203-8459
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hiranrodriguez@outlook.com



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Without Prejudice — Without Recourse

Preserving All Claims for Judicial Misconduct, Procedural Irregularity, and Constitutional

Injury

Under 28 U.S.C. §§ 144, 455, and 351; and reserving all rights to appeal, object, and seek

sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.
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Stac^^^ecoraro
From:                        Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                        Thursday, April 17, 2025 11:06 AM
To:                          LAEDmLPro Se
Subject:                     New EDSS Filing Submitted
Attachments:                 Notice^of_Entry_Exhibit_A_Railroad_Facilities_.pdf




Greeting? Pro Se Desk,

A new EDSS filing, has been submitted through the portal. The filing was submitted on Thyrsday, April


The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer’s Mailing Address: 820 Grove Ave, Metairie, 1_A, 70003-7024.

Filer's Phone Number: 5042038459


Filer's Case Number (If Known): 2:25-cv-00197

Filer’s Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Notice of Entry of Exhibit A; Railroad Facilities in Jefferson
Parish




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